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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              HUNTINGTON DIVISION
                                                                               Vacated by Order #395
RODNEY FREEMAN,                                                                entered 8/23/06


                              Movant,

v.                                                  CIVIL ACTION NO. 3:00-1176
                                                    CRIMINAL NO. 3:99-00015-04

UNITED STATES OF AMERICA,

                              Respondent.

                                            ORDER

       This action was referred to the Honorable Maurice G. Taylor, United States Magistrate

Judge, for submission to this Court of proposed findings of fact and recommendation for

disposition, pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has submitted findings of

fact and recommended that the relief sought in this § 2255 proceeding be denied. Neither party has

filed objections to the Magistrate Judge’s findings and recommendation.

       Accordingly, the Court accepts and incorporates herein the findings and recommendation

of the Magistrate Judge and DENIES the relief sought in this § 2255 proceeding, consistent with

the findings and recommendation.

       The Court DIRECTS the Clerk to send a certified copy of this Order to Magistrate Judge

Taylor, counsel of record, and any unrepresented parties.


                                             ENTER:         August 22, 2006




                                             ROBERT C. CHAMBERS
                                             UNITED STATES DISTRICT JUDGE
